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 4                             UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
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     CHRISTIAN WINDOM, et al.,
 7                                                         Case No. 2:25-cv-00261-CDS-NJK
            Plaintiffs,
 8                                                                       Order
     v.
 9
     DIANN BRANDON, et al.,
10
            Defendants.
11
12         An answer was filed in state court prior to removal. Docket No. 1-5. The parties must file

13 a joint proposed discovery plan by February 26, 2025.
14         IT IS SO ORDERED.

15         Dated: February 19, 2025

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                                                               Nancy J. Koppe
17                                                             United States Magistrate Judge
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